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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
     MARCUS VAUGHN; S.J., a minor, by           Case No. 2:16-cv-03086
12   and through her guardian ad litem
     Tiassa Powell; and D.J.A, a minor, by      COMPLAINT FOR DAMAGES
13   and through his guardian ad litem
14   Tiassa Powell, in each case individually     1. Fourth Amendment—Detention
     and as a successor in interest to Redel         and Arrest (42 U.S.C. § 1983)
15   Jones, deceased; and HAROLD                  2. Fourth Amendment—Excessive
16   HORNE, individually,                            Force (42 U.S.C. § 1983)
                                                  3. Fourth Amendment—Denial of
17               Plaintiffs,                         Medical Care (42 U.S.C. § 1983)
18                                                4. Substantive Due Process (42
           vs.
                                                     U.S.C. § 1983)
19                                                5. Municipal Liability—Ratification
   CITY OF LOS ANGELES; BRETT
20 RAMIREZ; and DOES 1-10, inclusive,                (42 U.S.C. § 1983)
                                                  6. Municipal Liability—Inadequate
21                                                   Training (42 U.S.C. § 1983)
             Defendants.
22                                                7. Municipal Liability—
                                                     Unconstitutional Custom, Practice,
23                                                   or Policy (42 U.S.C. § 1983)
24                                                8. False Arrest/False Imprisonment
                                                  9. Battery (Wrongful Death)
25                                                10.Negligence (Wrongful Death)
26                                                11.Violation of Cal. Civil Code § 52.1
27
                                                DEMAND FOR JURY TRIAL
28

                                                                  COMPLAINT FOR DAMAGES
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 1                             COMPLAINT FOR DAMAGES
 2         COME NOW Plaintiffs MARCUS VAUGHN; S.J., a minor, by and through
 3 her guardian ad litem Tiassa Powell; and D.J.A, a minor, by and through his
 4 guardian ad litem Tiassa Powell, in each case individually and as a successor in
 5 interest to Redel Jones, deceased; and HAROLD HORNE, individually, for their
 6 Complaint against Defendants City of Los Angeles, Brett Ramirez, and Does 1-10,
 7 inclusive, and alleges as follows:
 8
 9                              JURISDICTION AND VENUE
10         1.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331
11 and 1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the
12 United States including 42 U.S.C. § 1983 and the Fourth and Fourteenth
13 Amendments of the United States Constitution. This Court has supplemental
14 jurisdiction over Plaintiffs’ claims arising under state law pursuant to 28 U.S.C. §
15 1367(a), because those claims are so related to the federal claims that they form part
16 of the same case or controversy under Article III of the United States Constitution.
17         2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because
18 Defendants reside in this district and all incidents, events, and occurrences giving
19 rise to this action occurred in this district.
20
21                                     INTRODUCTION
22         3.     This civil rights and state tort action seeks compensatory and punitive
23 damages from Defendants for violating various rights under the United States
24 Constitution and state law in connection with the fatal officer-involved Tasing and
25 shooting of Plaintiffs’ father, wife, and daughter, Redel Jones (“DECEDENT”), on
26 August 12, 2015.
27
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                                                                    COMPLAINT FOR DAMAGES
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 1                                        PARTIES
 2        4.     At all relevant times, Decedent Redel Jones was an individual residing
 3 in the City of Los Angeles, California.
 4        5.     Plaintiff MARCUS VAUGHN (“VAUGHN”) is an individual residing
 5 in the City of Oakland, California and is the husband of DECEDENT. VAUGHN
 6 sues both in his individual capacity as the husband of DECEDENT and in a
 7 representative capacity as a successor-in-interest to DECEDENT pursuant to
 8 California Code of Civil Procedure § 377.60. VAUGHN seeks both survival and
 9 wrongful death damages under federal and state law.
10        6.     Plaintiff HAROLD HORNE (“HORNE”) is an individual residing in
11 the City of Los Angeles, California and is the natural father of DECEDENT.
12 HORNE sues in his individual capacity as the natural father of DECEDENT.
13 HORNE seeks wrongful death damages under federal law.
14        7.     Plaintiff S.J. is an individual residing in the City of Oakland, California
15 and is the natural daughter of DECEDENT. S.J. sues both in her individual capacity
16 as the natural child of DECEDENT and in a representative capacity as a successor-
17 in-interest to DECEDENT pursuant to California Code of Civil Procedure § 377.60.
18 S.J. seeks both survival and wrongful death damages under federal and state law.
19        8.     Plaintiff D.J.A. is an individual residing in the City of Oakland,
20 California and is the natural son of DECEDENT. D.J.A. sues both in his individual
21 capacity as the natural child of DECEDENT and in a representative capacity as a
22 successor-in-interest to DECEDENT pursuant to California Code of Civil Procedure
23 § 377.60. D.J.A. seeks both survival and wrongful death damages under federal and
24 state law.
25        9.     At all relevant times, Defendant CITY OF LOS ANGELES (“CITY”)
26 is and was a municipal corporation existing under the laws of the State of California.
27 CITY is a chartered subdivision of the State of California with the capacity to be
28 sued. CITY is responsible for the actions, omissions, policies, procedures, practices,

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 1 and customs of its various agents and agencies, including the Los Angeles Police
 2 Department (“LAPD”) and its agents and employees. At all relevant times,
 3 Defendant CITY was responsible for assuring that the actions, omissions, policies,
 4 procedures, practices, and customs of the and its employees and agents complied
 5 with the laws of the United States and of the State of California. At all relevant
 6 times, CITY was the employer of Defendants DOES 1-10.
 7        10.    Defendant BRETT RAMIREZ (“RAMIREZ”) is a police officer
 8 working for the LAPD. RAMIREZ was acting under color of law within the course
 9 and scope of his duties as an officer working for the LAPD. RAMIREZ was acting
10 with the complete authority and ratification of his principal, Defendant CITY.
11        11.    Defendants DOES 1-5 (“DOE OFFICERS”) are officers for the LAPD.
12 DOE OFFICERS were acting under color of law within the course and scope of
13 their duties as officers for the LAPD. DOE OFFICERS were acting with the
14 complete authority and ratification of their principal, Defendant CITY.
15        12.    Defendants DOES 6-8 are supervisory officers for the LAPD who were
16 acting under color of law within the course and scope of their duties as officers for
17 the LAPD. DOES 6-8 were acting with the complete authority and ratification of
18 their principal, Defendant CITY.
19        13.    Defendants DOES 9-10 are managerial, supervisorial, and
20 policymaking employees of the LAPD, who were acting under color of law within
21 the course and scope of their duties as managerial, supervisorial, and policymaking
22 employees for the LAPD. DOES 9-10 were acting with the complete authority and
23 ratification of their principal, Defendant CITY.
24        14.    On information and belief, Defendants RAMIREZ and DOES 1-10
25 were residents of the City of Los Angeles.
26        15.    In doing the acts and failing and omitting to act as hereinafter
27 described, Defendants RAMIREZ and DOE OFFICERS were acting on the implied
28 and actual permission and consent of Defendants LAPD and DOES 6-10.

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 1        16.    In doing the acts and failing and omitting to act as hereinafter
 2 described, Defendants RAMIREZ and DOES 1-10 were acting on the implied and
 3 actual permission and consent of the CITY.
 4        17.    The true names and capacities, whether individual, corporate,
 5 association or otherwise of Defendants DOES 1-10, inclusive, are unknown to
 6 Plaintiffs, who otherwise sue these Defendants by such fictitious names. Plaintiffs
 7 will seek leave to amend this complaint to show the true names and capacity of
 8 these Defendants when they have been ascertained. Each of the fictitiously-named
 9 Defendants is responsible in some manner for the conduct or liabilities alleged
10 herein.
11        18.    At all times mentioned herein, each and every defendant was the agent
12 of each and every other defendant and had the legal duty to oversee and supervise
13 the hiring, conduct, and employment of each and every defendant.
14        19.    All of the acts complained of herein by Plaintiffs against Defendants
15 were done and performed by said Defendants by and through their authorized
16 agents, servants, and/or employees, all of whom at all relevant times herein were
17 acting within the course, purpose, and scope of said agency, service, and/or
18 employment capacity. Moreover, Defendants and their agents ratified all of the acts
19 complained of herein.
20        20.    Defendants RAMIREZ and DOES 1-10 are sued in their individual
21 capacity.
22        21.    On or about December, 2015, pursuant to Government Code Section
23 910, Plaintiffs presented a claim with the City of Los Angeles in full and timely
24 compliance with the California Tort Claim Act.
25        22.    On or about December 16, 2015, the City of Los Angeles rejected
26 Plaintiffs’ Claim pursuant to Government Code Sections 913 and 915.4.
27
28

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 1                FACTS COMMON TO ALL CLAIMS FOR RELIEF
 2         23.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 3 through 22 of this Complaint with the same force and effect as if fully set forth
 4 herein.
 5         24.   On August 12, 2015, around 1:40 p.m. on that date, Defendants
 6 RAMIREZ and DOE OFFICERS contacted DECEDENT (Redel Jones) at or near
 7 the intersection of Marlton Avenue and Santo Tomas Drive in Los Angeles,
 8 California, and then pursued her into a nearby alley. RAMIREZ and DOE
 9 OFFICERS improperly detained and arrested DECEDENT. RAMIREZ and DOE
10 OFFICERS also used a TASER against her as she was moving away from the
11 officers, and Defendant RAMIREZ shot DECEDENT multiple times, also as
12 DECEDENT was moving away from the officers, thereby using excessive force
13 against her. As a result of the use of excessive force, DECEDENT endured severe
14 pain and suffering and then lost her life and earning capacity.
15         25.   The use of deadly force against DECEDENT was excessive and
16 objectively unreasonable under the circumstances, especially because DECEDENT
17 was not armed with a gun and did not pose an immediate threat of death or serious
18 bodily injury to anyone at the time of the shooting. According to at least one
19 percipient witness DECEDENT did not lunge or charge at RAMIREZ or DOE
20 OFFICERS.
21         26.   Upon information and belief, after being shot, DECEDENT was
22 immobile, bleeding profusely, and in obvious and critical need of emergency
23 medical care and treatment. Defendants did not timely summon medical care or
24 permit medical personnel to treat DECEDENT. The delay of medical care to
25 DECEDENT caused DECEDENT extreme physical and emotional pain and
26 suffering, and was a contributing cause of DECEDENT’s serious injuries.
27         27.   Plaintiffs were dependent on DECEDENT, to some extent, for the
28 necessities of life.

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 1        28.    Plaintiffs S.J. and D.J.A. are DECEDENT’s successors-in-interest as
 2 defined in Section 377.11 of the California Code of Civil Procedure and succeed to
 3 DECEDENT’s interest in this action as the natural children of DECEDENT.
 4        29.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 5 in Section 377.11 of the California Code of Civil Procedure and succeeds to
 6 DECEDENT’s interest in this action as the natural husband of DECEDENT.
 7
 8                            FIRST CLAIM FOR RELIEF
 9           Fourth Amendment—Detention and Arrest (42 U.S.C. § 1983)
10   (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants RAMIREZ and DOE
11                                      OFFICERS)
12        30.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
13 through 29 of this Complaint with the same force and effect as if fully set forth
14 herein.
15        31.    Defendants RAMIREZ and DOE OFFICERS detained DECEDENT
16 without reasonable suspicion and arrested her without probable cause.
17        32.    When Defendants RAMIREZ and DOE OFFICERS pointed a gun at
18 DECEDENT, shot DECEDENT, and placed her in handcuffs, they violated
19 DECEDENT’s right to be secure in her person against unreasonable searches and
20 seizures as guaranteed to DECEDENT under the Fourth Amendment to the United
21 States Constitution and applied to state actors by the Fourteenth Amendment.
22        33.    The conduct of Defendants RAMIREZ and DOE OFFICERS was
23 willful, wanton, malicious, and done with reckless disregard for the rights and safety
24 of DECEDENT and therefore warrants the imposition of exemplary and punitive
25 damages as to Defendants RAMIREZ and DOE OFFICERS.
26        34.    As a result of their misconduct, Defendants RAMIREZ and DOE
27 OFFICERS are liable for DECEDENT’s injuries, either because they were integral
28

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 1 participants in the wrongful detention and arrest, or because they failed to intervene
 2 to prevent these violations.
 3         35.   Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 4 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 5 and seek both survival and wrongful death damages for the violation of
 6 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 7         36.   Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 8 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 9 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
10 VAUGHN also seeks attorney’s fees.
11                           SECOND CLAIM FOR RELIEF
12               Fourth Amendment —Excessive Force (42 U.S.C. § 1983)
13   (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants RAMIREZ and DOE
14                                       OFFICERS)
15         37.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
16 through 36 of this Complaint with the same force and effect as if fully set forth
17 herein.
18         38.   Defendant RAMIREZ used excessive force against DECEDENT when
19 he shot her. Defendant RAMIREZ’ unjustified shooting deprived DECEDENT of
20 his right to be secure in his person against unreasonable searches and seizures as
21 guaranteed to DECEDENT under the Fourth Amendment to the United States
22 Constitution and applied to state actors by the Fourteenth Amendment.
23         39.   DOE OFFICERS integrally participated and/or failed to intervene.
24         40.   As a result of the foregoing, DECEDENT suffered great physical pain
25 and emotional distress up to the time of her death, loss of enjoyment of life, loss of
26 life, and loss of earning capacity.
27         41.   The conduct of Defendants RAMIREZ and DOE OFFICERS was
28 willful, wanton, malicious, and done with reckless disregard for the rights and safety

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 1 of DECEDENT, and therefore warrants the imposition of exemplary and punitive
 2 damages as to Defendants RAMIREZ and DOE OFFICERS.
 3        42.    The shooting was excessive and unreasonable, and DECEDENT posed
 4 no immediate threat of death or serious bodily injury at the time of the shooting.
 5 Further, Defendant RAMIREZ’ shooting and use of force violated his training and
 6 standard police officer training.
 7        43.    Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 8 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 9 and seek both survival and wrongful death damages for the violation of
10 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
11        44.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
12 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
13 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
14 VAUGHN also seeks attorney’s fees.
15
16                            THIRD CLAIM FOR RELIEF
17           Fourth Amendment —Denial of Medical Care (42 U.S.C. § 1983)
18   (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants RAMIREZ and DOE
19                                      OFFICERS)
20        45.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
21 through 44 of this Complaint with the same force and effect as if fully set forth
22 herein.
23        46.     The denial of medical care by Defendants RAMIREZ and DOE
24 OFFICERS deprived DECEDENT of her right to be secure in her person against
25 unreasonable searches and seizures as guaranteed to DECEDENT under the Fourth
26 Amendment to the United States Constitution and applied to state actors by the
27 Fourteenth Amendment.
28

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  1        47.    As a result of the foregoing, DECEDENT suffered great physical pain
  2 and emotional distress up to the time of her death, loss of enjoyment of life, loss of
  3 life, and loss of earning capacity.
  4        48.    Defendants RAMIREZ and DOE OFFICERS knew that failure to
  5 provide timely medical treatment to DECEDENT could result in further significant
  6 injury or the unnecessary and wanton infliction of pain, but disregarded that serious
  7 medical need, causing DECEDENT great bodily harm and death.
  8        49.    The conduct of RAMIREZ and DOE OFFICERS was willful, wanton,
  9 malicious, and done with reckless disregard for the rights and safety of DECEDENT
 10 and therefore warrants the imposition of exemplary and punitive damages as to
 11 Defendants RAMIREZ and DOE OFFICERS.
 12        50.    As a result of their misconduct, Defendants RAMIREZ and DOE
 13 OFFICERS are liable for DECEDENT’s injuries, either because they were integral
 14 participants in the wrongful detention and arrest, or because they failed to intervene
 15 to prevent these violations.
 16        51.    Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 17 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 18 and seek both survival and wrongful death damages for the violation of
 19 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 20        52.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 21 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 22 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 23 VAUGHN also seeks attorney’s fees.
 24
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  1                            FOURTH CLAIM FOR RELIEF
  2                      Substantive Due Process (42 U.S.C. § 1983)
  3         (By all Plaintiffs against Defendants RAMIREZ and DOE OFFICERS)
  4         53.    Plaintiffs repeat and re-alleges each and every allegation in
  5 paragraphs 1 through 52 of this Complaint with the same force and effect as if fully
  6 set forth herein.
  7         54.    Plaintiff HORNE had a cognizable interest under the Due Process
  8 Clause of the Fourteenth Amendment of the United States Constitution to be free
  9 from state actions that deprive him of life, liberty, or property, including but not
 10 limited to unwarranted state interference in Plaintiff HORNE’s familial relationship
 11 with his daughter, DECEDENT.
 12         55.    DECEDENT had a cognizable interest under the Due Process Clause of
 13 the Fourteenth Amendment of the United States Constitution to be free from state
 14 actions that deprive her of life, liberty, or property in such a manner as to shock the
 15 conscience.
 16         56.    Plaintiff VAUGHN had a cognizable interest under the Due Process
 17 Clause of the Fourteenth Amendment of the United States Constitution to be free
 18 from state actions that deprive him of life, liberty, or property, including but not
 19 limited to unwarranted state interference in Plaintiff VAUGHN’s familial
 20 relationship with his wife, DECEDENT.
 21         57.    Plaintiff S.J. had a cognizable interest under the Due Process Clause of
 22 the Fourteenth Amendment of the United States Constitution to be free from state
 23 actions that deprive her of life, liberty, or property, including but not limited to
 24 unwarranted state interference in Plaintiff’s familial relationship with her father,
 25 DECEDENT.
 26         58.    Plaintiff D.J.A. had a cognizable interest under the Due Process Clause
 27 of the Fourteenth Amendment of the United States Constitution to be free from state
 28 actions that deprive him of life, liberty, or property, including but not limited to

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  1 unwarranted state interference in Plaintiff’s familial relationship with his father,
  2 DECEDENT.
  3        59.    As a direct and proximate result of aforementioned actions of
  4 RAMIREZ and DOE OFFICERS, including their use of excessive and unreasonable
  5 force against DECEDENT, DECEDENT experienced pain and suffering and
  6 eventually died. RAMIREZ and DOE OFFICERS thus violated the substantive due
  7 process rights of Plaintiffs to be free from unwarranted interference with their
  8 familial relationship with DECEDENT.
  9        60.    As a direct and proximate cause of the acts of RAMIREZ and DOE
 10 OFFICERS, Plaintiffs suffered emotional distress, mental anguish, and pain.
 11 Plaintiff has also been deprived of the life-long love, companionship, comfort,
 12 support, society, care, and sustenance of DECEDENT, and will continue to be so
 13 deprived for the remainder of their natural lives.
 14        61.    The conduct of RAMIREZ and DOE OFFICERS was willful, wanton,
 15 malicious, and done with reckless disregard for the rights and safety of DECEDENT
 16 and Plaintiff and therefore warrants the imposition of exemplary and punitive
 17 damages as to Defendants RAMIREZ and DOE OFFICERS.
 18        62.    Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 19 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 20 and seek both survival and wrongful death damages for the violation of
 21 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 22        63.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 23 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 24 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 25 VAUGHN also seeks attorney’s fees.
 26        64.    Plaintiff HORNE brings this claim individually and seeks wrongful
 27 death damages and attorney’s fees.
 28

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  1                            FIFTH CLAIM FOR RELIEF
  2                 Municipal Liability – Ratification (42 U.S.C. § 1983)
  3    (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants CITY and DOES 6-
  4                                           10)
  5         65.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  6 through 64 of this Complaint with the same force and effect as if fully set forth
  7 herein.
  8         66.   Defendants RAMIREZ and DOE OFFICERS acted under color of law;
  9         67.   The acts of Defendants RAMIREZ and DOE OFFICERS deprived
 10 DECEDENT and Plaintiffs of their particular rights under the United States
 11 Constitution.
 12         68.   Upon information and belief, a final policymaker, acting under color of
 13 law, who had final policymaking authority concerning the acts of Defendants
 14 RAMIREZ and DOE OFFICERS, ratified Defendants RAMIREZ’ and DOE
 15 OFFICERS’ acts and the bases for them. Upon information and belief, the final
 16 policymaker knew of and specifically approved of Defendants RAMIREZ’ and
 17 DOE OFFICERS’ acts.
 18         69.   Upon information and belief, a final policymaker has determined (or
 19 will determine) that the acts of Defendants RAMIREZ and DOE OFFICERS were
 20 “within policy.”
 21         70.   By reason of the aforementioned acts and omissions, Plaintiffs have
 22 suffered loss of the love, companionship, affection, comfort, care, society, training,
 23 guidance, and past and future support of DECEDENT. The aforementioned acts and
 24 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
 25 and death.
 26         71.   Accordingly, Defendants CITY, RAMIREZ and DOES 1-10 each are
 27 liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
 28

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  1         72.    Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
  2 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
  3 and seek both survival and wrongful death damages for the violation of
  4 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
  5         73.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
  6 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
  7 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
  8 VAUGHN also seeks attorney’s fees.
  9
 10                             SIXTH CLAIM FOR RELIEF
 11               Municipal Liability – Failure to Train (42 U.S.C. § 1983)
 12    (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants CITY and DOES 6-
 13                                             10)
 14         74.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 15 through 73 of this Complaint with the same force and effect as if fully set forth
 16 herein.
 17         75.    Defendants RAMIREZ and DOE OFFICERS acted under color of law.
 18         76.    The acts of Defendants RAMIREZ and DOE OFFICERS deprived
 19 DECEDENT and Plaintiffs of their particular rights under the United States
 20 Constitution.
 21         77.    The training policies of Defendant CITY were not adequate to train its
 22 officers to handle the usual and recurring situations with which they must deal.
 23         78.    Defendant CITY was deliberately indifferent to the obvious
 24 consequences of its failure to train its officers adequately.
 25         79.    The failure of Defendant CITY to provide adequate training caused the
 26 deprivation of Plaintiffs’ rights by Defendants RAMIREZ and DOE OFFICERS;
 27 that is, Defendants’ failure to train is so closely related to the deprivation of the
 28 Plaintiffs’ rights as to be the moving force that caused the ultimate injury.

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  1        80.    On information and belief, CITY failed to train RAMIREZ and DOE
  2 OFFICERS properly and adequately.
  3        81.    By reason of the aforementioned acts and omissions, Plaintiffs have
  4 suffered loss of the love, companionship, affection, comfort, care, society, training,
  5 guidance, and past and future support of DECEDENT. The aforementioned acts and
  6 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
  7 and death.
  8        82.    Accordingly, Defendants CITY, RAMIREZ and DOES 1-10 each are
  9 liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
 10        83.    Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 11 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 12 and seek both survival and wrongful death damages for the violation of
 13 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 14        84.    Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 15 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 16 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 17 VAUGHN also seeks attorney’s fees.
 18
 19                          SEVENTH CLAIM FOR RELIEF
 20     Municipal Liability – Unconstitutional Custom or Policy (42 U.S.C. § 1983)
 21    (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants CITY and DOES 6-
 22                                           10)
 23        85.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 24 through 84 of this Complaint with the same force and effect as if fully set forth
 25 herein.
 26        86.    Defendants RAMIREZ and DOE OFFICERS acted under color of law.
 27
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  1        87.   Defendants RAMIREZ and DOE OFFICERS acted pursuant to an
  2 expressly adopted official policy or a longstanding practice or custom of the
  3 Defendant CITY.
  4        88.   On information and belief, Defendants RAMIREZ and DOE
  5 OFFICERS were not disciplined, reprimanded, retrained, suspended, or otherwise
  6 penalized in connection with DECEDENT’s death.
  7        89.   Defendants CITY, RAMIREZ and DOE OFFICERS, together with
  8 other CITY policymakers and supervisors, maintained, inter alia, the following
  9 unconstitutional customs, practices, and policies:
 10              (a)    Using excessive force, including excessive deadly force;
 11              (b)    Providing inadequate training regarding the use of deadly force;
 12              (c)    Employing and retaining as police officers individuals such as
 13                     Defendants RAMIREZ and DOE OFFICERS, whom Defendant
 14                     CITY at all times material herein knew or reasonably should
 15                     have known had dangerous propensities for abusing their
 16                     authority and for using excessive force;
 17              (d)    Inadequately supervising, training, controlling, assigning, and
 18                     disciplining CITY officers, and other personnel, including
 19                     Defendants RAMIREZ and DOE OFFICERS, whom Defendant
 20                     CITY knew or in the exercise of reasonable care should have
 21                     known had the aforementioned propensities and character traits;
 22               (e)   Maintaining grossly inadequate procedures for reporting,
 23                     supervising, investigating, reviewing, disciplining and
 24                     controlling misconduct by Defendants RAMIREZ and DOE
 25                     OFFICERS;
 26               (f)   Failing to adequately discipline CITY police officers, including
 27                     Defendants RAMIREZ and DOE OFFICERS, for the above-
 28                     referenced categories of misconduct, including “slaps on the

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  1                      wrist,” discipline that is so slight as to be out of proportion to the
  2                      magnitude of the misconduct, and other inadequate discipline
  3                      that is tantamount to encouraging misconduct;
  4                (g)   Announcing that unjustified shootings are “within policy,”
  5                      including shootings that were later determined in court to be
  6                      unconstitutional;
  7                (h)   Even where shootings are determined in court to be
  8                      unconstitutional, refusing to discipline, terminate, or retrain the
  9                      officers involved;
 10                (i)   Encouraging, accommodating, or facilitating a “blue code of
 11                      silence,” “blue shield,” “blue wall,” “blue curtain,” “blue veil,”
 12                      or simply “code of silence,” pursuant to which police officers do
 13                      not report other officers’ errors, misconduct, or crimes. Pursuant
 14                      to this code of silence, if questioned about an incident of
 15                      misconduct involving another officer, while following the code,
 16                      the officer being questioned will claim ignorance of the other
 17                      officers’ wrongdoing.
 18                (j)   Maintaining a policy of inaction and an attitude of indifference
 19                      towards soaring numbers of police shootings, including by
 20                      failing to discipline, retrain, investigate, terminate, and
 21                      recommend officers for criminal prosecution who participate in
 22                      shootings of unarmed people.
 23         90.   By reason of the aforementioned acts and omissions, Plaintiffs have
 24 suffered loss of the love, companionship, affection, comfort, care, society, training,
 25 guidance, and past and future support of DECEDENT. The aforementioned acts and
 26 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
 27 and death.
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  1         91.      Defendants CITY, RAMIREZ, and DOES 1-10, together with various
  2 other officials, whether named or unnamed, had either actual or constructive
  3 knowledge of the deficient policies, practices and customs alleged in the paragraphs
  4 above. Despite having knowledge as stated above, these defendants condoned,
  5 tolerated and through actions and inactions thereby ratified such policies. Said
  6 defendants also acted with deliberate indifference to the foreseeable effects and
  7 consequences of these policies with respect to the constitutional rights of
  8 DECEDENT, Plaintiffs, and other individuals similarly situated.
  9         92.      The following are only a few examples of continued misconduct by
 10 officers working for Defendant CITY. These examples demonstrate an
 11 unconstitutional custom, policy, and practice of using deadly force against unarmed
 12 civilians, and ratifying that use of deadly force and/or finding the use of deadly
 13 force to be justified or “within policy”:
 14               a) In Contreras v. City of Los Angeles, case number 2:11-cv-01480-SVW
 15                  (SHx)), the CITY argued that the use deadly force against Mr.
 16                  Contreras by LAPD officers was reasonable; a unanimous jury
 17                  disagreed, awarding Mr. Contreras $5,700,000 after finding that the
 18                  involved officers used excessive and unreasonable force when they shot
 19                  an unarmed Mr. Contreras. Police reports confirmed that Mr. Contreras
 20                  was unarmed. In that case, the involved officers were not disciplined
 21                  or retrained for their use of deadly force, and the CITY found that the
 22                  shooting was justified and did not violate any CITY policy.
 23               b) In P.C., et al. v. City of Los Angeles, case number CV 07-3413 PLA,
 24                  the CITY argued that the involved LAPD officers’ use of force was
 25                  reasonable; a unanimous jury disagreed, awarding the plaintiffs a total
 26                  of $3,215,000 after finding that the involved officers’ use of force was
 27                  excessive and unreasonable. In that case, the involved officers were
 28                  not disciplined or retrained for their use of deadly force, and the CITY

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  1                  found that the shooting was justified and did not violate any CITY
  2                  policy.
  3               c) In Cano, et al. v. City of Los Angeles, case number 2:15-cv-00333-
  4                  JAK-E, currently pending in the United States District Court for the
  5                  Central District of California, the family of an unarmed man (David
  6                  Martinez) who was shot and killed by LAPD Rampart officers alleges
  7                  that the force used by the officers was excessive and unreasonable.
  8                  Police reports confirm that Mr. Martinez was unarmed at the time of
  9                  the shooting. In that case, the involved officers were not disciplined or
 10                  retrained for their use of deadly force, and the CITY found that the
 11                  shooting was justified and did not violate any CITY policy.
 12         93.      By perpetrating, sanctioning, tolerating and ratifying the outrageous
 13 conduct and other wrongful acts, RAMIREZ and DOES 1-10 acted with intentional,
 14 reckless, and callous disregard for the life of DECEDENT and for DECEDENT’s
 15 and Plaintiffs’ constitutional rights. Furthermore, the policies, practices, and
 16 customs implemented, maintained, and still tolerated by Defendants CITY,
 17 RAMIREZ and DOES 1-10 were affirmatively linked to and were a significantly
 18 influential force behind the injuries of DECEDENT and Plaintiffs.
 19         94.      Accordingly, Defendants CITY, RAMIREZ and DOES 1-10 each are
 20 liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
 21         95.      Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 22 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 23 and seek both survival and wrongful death damages for the violation of
 24 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 25         96.      Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 26 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 27 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 28 VAUGHN also seeks attorney’s fees.

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  1
  2                           EIGHTH CLAIM FOR RELIEF
  3                           False Arrest/False Imprisonment
  4 (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants CITY, RAMIREZ and
  5                                   DOE OFFICERS)
  6        97.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  7 through 96 of this Complaint with the same force and effect as if fully set forth
  8 herein.
  9        98.    Defendants RAMIREZ and DOE OFFICERS, while working as
 10 officers for the LAPD and acting within the course and scope of their duties,
 11 intentionally deprived DECEDENT of his freedom of movement by use of force,
 12 threats of force, menace, fraud, deceit, and unreasonable duress. RAMIREZ and
 13 DOE OFFICERS detained DECEDENT without reasonable suspicion and arrested
 14 him without probable cause.
 15        99.    DECEDENT did not knowingly or voluntarily consent.
 16        100. Defendants RAMIREZ and DOE OFFICERS detained DECEDENT
 17 for an appreciable amount of RAMIREZ and time.
 18        101. The conduct of DOE OFFICERS was a substantial factor in causing the
 19 harm to DECEDENT.
 20        102. Defendant CITY is vicariously liable for the wrongful acts of
 21 Defendants RAMIREZ and DOE OFFICERS pursuant to section 815.2(a) of the
 22 California Government Code, which provides that a public entity is liable for the
 23 injuries caused by its employees within the scope of the employment if the
 24 employee’s act would subject him or her to liability.
 25        103. The conduct of RAMIREZ and DOE OFFICERS was malicious,
 26 wanton, oppressive, and accomplished with a conscious disregard for the rights of
 27 DECEDENT, entitling Plaintiffs to an award of exemplary and punitive damages.
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  1        104. As a result of their misconduct, Defendants RAMIREZ and DOE
  2 OFFICERS are liable for DECEDENT’s injuries, either because they were integral
  3 participants in the wrongful detention and arrest, or because they failed to intervene
  4 to prevent these violations.
  5        105. Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
  6 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
  7 and seek both survival and wrongful death damages for the violation of
  8 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
  9        106. Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 10 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 11 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 12 VAUGHN also seeks attorney’s fees.
 13
 14                            NINTH CLAIM FOR RELIEF
 15                                         Battery
 16                                    (Wrongful Death)
 17 (By Plaintiffs VAUGHN, S.J., and D.J.A. against Defendants CITY, RAMIREZ and
 18                                   DOE OFFICERS)
 19        107. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 20 through 106 of this Complaint with the same force and effect as if fully set forth
 21 herein.
 22        108. RAMIREZ, while working as an officer for the LAPD, and acting
 23 within the course and scope of his duties, intentionally shot DECEDENT multiple
 24 times and used unreasonable and excessive force against her. As a result of the
 25 actions of RAMIREZ, DECEDENT suffered severe pain and suffering and
 26 ultimately died from his injuries. RAMIREZ had no legal justification for using
 27 force against DECEDENT, and his use of force while carrying out his duties as a
 28 police officer was an unreasonable and non-privileged use of force.

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  1         109. DOE OFFICERS integrally participated and/or failed to intervene in
  2 the Tasing and shooting of DECEDENT.
  3         110. As a direct and proximate result of the conduct of RAMIREZ and as
  4 alleged above, DECEDENT sustained injuries and died from his injuries and also
  5 lost his earning capacity. Also as a direct and proximate result of the conduct of
  6 RAMIREZ as alleged above, DECEDENT suffered survival damages pursuant to
  7 Code of Civil Procedure Section 377.34.
  8         111. CITY is vicariously liable for the wrongful acts of Defendant DOES 1
  9 pursuant to section 815.2(a) of the California Government Code, which provides
 10 that a public entity is liable for the injuries caused by its employees within the scope
 11 of the employment if the employee’s act would subject him or her to liability.
 12         112. The conduct of RAMIREZ and DOE OFFICERS was malicious,
 13 wanton, oppressive, and accomplished with a conscious disregard for the rights of
 14 Plaintiffs and DECEDENT, entitling Plaintiffs, individually and as successors-in-
 15 interest to DECEDENT, to an award of exemplary and punitive damages as to
 16 Defendants RAMIREZ and DOE OFFICERS.
 17         113. Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 18 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 19 and seek both survival and wrongful death damages for the violation of
 20 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 21         114. Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 22 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 23 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 24 VAUGHN also seeks attorney’s fees.
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  1                            TENTH CLAIM FOR RELIEF
  2                                        Negligence
  3                                    (Wrongful Death)
  4            (By Plaintiffs VAUGHN, S.J., and D.J.A. against all Defendants)
  5         115. Plaintiff repeats and re-alleges each and every allegation in
  6 paragraphs 1 through 114 of this Complaint with the same force and effect as if fully
  7 set forth herein.
  8         116. Police officers, including Defendants, have a duty to use reasonable
  9 care to prevent harm or injury to others. This duty includes using appropriate tactics,
 10 giving appropriate commands, giving warnings, and not using any force unless
 11 necessary, using less than lethal options, and only using deadly force as a last resort.
 12         117.   Defendants RAMIREZ and DOES 1-10 breached this duty of care.
 13 Upon information and belief, the actions and inactions of Defendants RAMIREZ
 14 and DOES 1-10 were negligent and reckless, including but not limited to:
 15                (a)   the failure to properly and adequately assess the need to detain,
 16                      arrest, and use force or deadly force against DECEDENT;
 17                (b)   the negligent tactics and handling of the situation with
 18                      DECEDENT, including pre-shooting negligence;
 19                (c)   the negligent detention, arrest, and use of force, including deadly
 20                      force, against DECEDENT;
 21                (d)   the failure to provide prompt medical care to DECEDENT;
 22                (e)   the failure to properly train and supervise employees, both
 23                      professional and non-professional, including DOE OFFICERS;
 24                (f)   the failure to ensure that adequate numbers of employees with
 25                      appropriate education and training were available to meet the
 26                      needs of and protect the rights of DECEDENT;
 27                (g)   the negligent handling of evidence and witnesses; and
 28                (h)   the negligent communication of information during the incident.

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  1        118. As a direct and proximate result of Defendants’ conduct as alleged
  2 above, and other undiscovered negligent conduct, DECEDENT was caused to suffer
  3 severe pain and suffering and ultimately died. Also as a direct and proximate result
  4 of Defendants’ conduct as alleged above, Plaintiffs suffered emotional distress and
  5 mental anguish. Plaintiffs also have been deprived of the life-long love,
  6 companionship, comfort, support, society, care and sustenance of DECEDENT, and
  7 will continue to be so deprived for the remainder of their natural lives.
  8        119. CITY is vicariously liable for the wrongful acts of Defendants
  9 RAMIREZ and DOES 1-10 pursuant to section 815.2(a) of the California
 10 Government Code, which provides that a public entity is liable for the injuries
 11 caused by its employees within the scope of the employment if the employee’s act
 12 would subject him or her to liability.
 13        120. Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 14 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 15 and seek both survival and wrongful death damages for the violation of
 16 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 17        121. Plaintiff VAUGHN is DECEDENT’s successor-in-interest as defined
 18 in Section 377.11 of the California Code of Civil Procedure and seeks both survival
 19 and wrongful death damages for the violation of DECEDENT’s rights. Plaintiff
 20 VAUGHN also seeks attorney’s fees.
 21
 22                            ELEVENTH CLAIM FOR RELIEF
 23                             (Violation of Cal. Civil Code § 52.1)
 24               (By Plaintiffs VAUGHN, S.J., and D.J.A. against all Defendants)
 25        122. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 26 through 121 of this Complaint with the same force and effect as if fully set forth
 27 herein.
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  1         123. California Civil Code, Section 52.1 (the Bane Act), prohibits any
  2 person from using violent acts or threatening to commit violent acts in retaliation
  3 against another person for exercising that person’s constitutional rights.
  4         124. On information and belief, Defendants RAMIREZ and DOE
  5 OFFICERS, inclusive, while working for the CITY and acting within the course and
  6 scope of their duties, intentionally committed and attempted to commit acts of
  7 violence against DECEDENT, including by shooting him without justification or
  8 excuse, by integrally participating and failing to intervene in the above violence, and
  9 by denying him necessary medical care.
 10         125. When Defendant RAMIREZ shot DECEDENT, he interfered with her
 11 civil rights to be free from unreasonable searches and seizures, to due process, to
 12 equal protection of the laws, to medical care, to be free from state actions that shock
 13 the conscience, and to life, liberty, and property.
 14         126. On information and belief, Defendants intentionally and spitefully
 15 committed the above acts to discourage DECEDENT from exercising her civil
 16 rights, to retaliate against her for invoking such rights, or to prevent her from
 17 exercising such rights, which she was fully entitled to enjoy.
 18         127. On information and belief, DECEDENT reasonably believed and
 19 understood that the violent acts committed by Defendants RAMIREZ and DOE
 20 OFFICERS, inclusive were intended to discourage her from exercising the above
 21 civil rights, to retaliate against her for invoking such rights, or to prevent her from
 22 exercising such rights.
 23         128.   Defendants thus successfully interfered with the above civil rights of
 24 DECEDENT and Plaintiffs.
 25         129. The conduct of Defendants was a substantial factor in causing
 26 Plaintiffs’ harms, losses, injuries, and damages.
 27         130. CITY is vicariously liable for the wrongful acts of Defendants
 28 RAMIREZ and DOE OFFICERS, inclusive, pursuant to section 815.2(a) of the

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  1 California Government Code, which provides that a public entity is liable for the
  2 injuries caused by its employees within the scope of the employment if the
  3 employee’s act would subject him or her to liability.
  4        131. Defendants DOES 6-10 are vicariously liable under California law and
  5 the doctrine of respondeat superior.
  6        132. The conduct of Defendants was malicious, wanton, oppressive, and
  7 accomplished with a conscious disregard for DECEDENT’s and Plaintiffs’ rights,
  8 justifying an award of exemplary and punitive damages as to Defendants RAMIREZ
  9 and DOE OFFICERS.
 10        133. Plaintiffs S.J. and D.J.A. bring this claim as DECEDENT’s successors-
 11 in-interest as defined in Section 377.11 of the California Code of Civil Procedure
 12 and seek both survival and wrongful death damages for the violation of
 13 DECEDENT’s rights. Plaintiffs also seek attorney’s fees.
 14        134. Plaintiff VAUGHN is also DECEDENT’s successor-in-interest as
 15 defined in Section 377.11 of the California Code of Civil Procedure and seeks both
 16 survival and wrongful death damages for the violation of DECEDENT’s rights.
 17 Plaintiff VAUGHN also seeks attorney’s fees.
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  1                              PRAYER FOR RELIEF
  2        WHEREFORE, Plaintiffs Marcus Vaughn, Harold Horne, S.J., and D.J.A.
  3 request entry of judgment in their favor and against Defendants City of Los Angeles,
  4 Brett Ramirez and Does 1-10, inclusive, as follows:
  5              A.    For compensatory damages in t whatever other amount may be
  6                    proven at trial, including both survival damages and wrongful
  7                    death damages under federal and state law;
  8              B.    For funeral and burial expenses, and loss of financial support;
  9              C.    For punitive damages against the individual defendants in an
 10                    amount to be proven at trial;
 11              D.    For statutory damages;
 12              E.    For interest;
 13              F.    For reasonable attorneys’ fees, including litigation expenses;
 14              G.    For costs of suit; and
 15              H.    For such further other relief as the Court may deem just, proper,
 16                    and appropriate.
 17
 18 DATED: May 4, 2016                    LAW OFFICES OF DALE K. GALIPO
 19
 20                                       By /s/ Dale K. Galipo
                                            Dale K. Galipo
 21                                         Attorneys for Plaintiffs

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  1                           DEMAND FOR JURY TRIAL
  2        Plaintiffs hereby demand a trial by jury.
  3
  4 DATED: May 4, 2016                   LAW OFFICES OF DALE K. GALIPO
  5

                                         By /s/ Dale K. Galipo
  6
  7                                        Dale K. Galipo
                                           Attorneys for Plaintiffs
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